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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          JACKSON DIVISION

WILLIE MACK

VS.                                      CRIMINAL NO. 3:03CR145TSL-JCS
                                    CIVIL ACTION NO. 3:07CV191TSL-JCS

CONSTANCE REESE, WARDEN, ET AL.


                                   ORDER

      Before the court is the motion of defendant Willie Mack,

whereby he purports to seek relief pursuant to both 28 U.S.C.

§ 2255 and 28 U.S.C. § 2241.       Having reviewed the motion, the

court finds, for the reasons which follow, that the motion is due

to be dismissed.

      On September 25, 2003, the grand jury returned a six-count

indictment, charging Mack and three others with various

violations of 21 U.S.C. § 841(a), distribution of a Schedule II

narcotic drug controlled substance.          Count one of the indictment

charged that Mack, together with his three-named co-defendants

and “others known and unknown to the grand jury”, had committed

conspiracy to distribute cocaine.       On February 27, 2004,          Mack

pled guilty to count 5 of the indictment, pursuant to a written

plea agreement with the government whereby he specifically waived

his right to appeal his conviction or seek relief pursuant to a

§ 2255 motion.    On May 27, 2004, the court sentenced Mack to a

thirty-nine month term of imprisonment with a three-year term of

supervised release.     On June 1, 2004, the court entered its
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judgment and the record reflects that no appeal was taken.

     Thereafter, on June 5, 2006, the court issued an arrest

warrant for Mack related to allegations that he had violated the

terms of his supervised release.      On June 29, 2006, Mack again

appeared before the court.      At this time, the court found him to

have violated the terms of supervised release and ordered him to

serve an additional fifteen months in the custody of the Bureau

of Prisons.    On July 10, 2006, the court entered judgment on the

revocation.

     On April 5, 2007, Mack filed his current petition purporting

to seek relief pursuant to both § 2255 and § 2241.            The document

sets forth two “grounds” for relief.        By the first ground, Mack

contends that the 2003 indictment against him was defective

because it fails to specifically state the names of the “other”

co-conspirators known to the grand jury.        By ground two, Mack

contends that he was subject to an unreasonable search and

seizure by the guards at the federal prison where he is housed.

He further maintains that during this illegal search, the guards

found marijuana and he was, eventually, wrongfully found to have

committed a rule violation, for which he was placed in the

special housing unit (shu).      He seeks to be released from shu,

released from prison and given “other just compensation” as the

court deems appropriate.

     It is    well-established that "[s]ection 2255, not section

2241, is the proper means of attacking errors that occurred
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during or before sentencing."      Ojo v. Immigration and

Naturalization Service, 106 F.3d 680, 683 (5th Cir.1997)             (citing

Cox v. Warden, Fed. Detention Ctr., 911 F.2d 1111, 1113 (5th

Cir.1990).     On the other hand, § 2241 is the vehicle by which

"[a] petitioner may attack the manner in which his sentence is

being executed in the district court with jurisdiction over his

custodian pursuant to 28 U.S.C. § 2241.        United States v. Cleto,

956 F.2d 83, 84 (5th Cir.1992).      Additionally, a plaintiff

seeking monetary damages against federal employees may institute

a civil action pursuant to the theory of Bivens v. Six Unknown

Named Agents of the Federal Bureau of Narcotics, 403 U.S. 388

(1971) (allowing claims for damages against federal employees for

violation of constitutional rights).

     Here, it is clear that the issue raised by ground one may be

the proper subject of a § 2255 motion and inasmuch as a § 2255

motion is deemed to be a continuation of the criminal action,

Mack is entitled to file the motion without paying additional

filing fees.   It is equally clear that Mack's § 2255 motion

challenging the 2004 judgment against him is both time-barred by

§ 2255's one-year statute of limitation and prohibited under the

express terms of his plea agreement.        Accordingly, the court

concludes, pursuant to Rule 4(b) of the Rules Governing § 2255

Proceedings, that Mack is not entitled to relief and that his

motion should be dismissed with prejudice.

    Further, to the extent that by ground two, Mack seeks either
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habeas relief pursuant to § 2241 or monetary damages, he is not

entitled to maintain either of these claims in this proceeding,

but rather must separately bring the appropriate action and

either pay the requisite filing fee or file a motion seeking in

forma pauperis status.        Accordingly, these putative claims will

be dismissed without prejudice.

     Based on the foregoing, it is ordered that Mack's § 2255

motion is dismissed with prejudice and that any other claims are

dismissed without prejudice.

     SO ORDERED, this the 19th day of April, 2007.




            _____/s/ Tom S. Lee__________________________
                UNITED STATES DISTRICT JUDGE
